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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                             June 05, 2023
                                                                          Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

        RICHARD LOWERY,        § CIVIL ACTION NO
                    Plaintiff, § 4:22-cv-03091
                               §
                               §
            vs.                § JUDGE CHARLES ESKRIDGE
                               §
                               §
        TEXAS A&M              §
        UNIVERSITY, et al,     §
                 Defendants. §

                       MINUTE ENTRY AND ORDER

            Minute entry for MOTION HEARING before Judge Charles
       Eskridge on May 31, 2023. All parties represented by
       counsel.
            The Court addressed the motion by Defendants Texas
       A&M University, et al, to dismiss under Rules 12(b)(1) and
       12(b)(6). Dkt 18.
            Decision on the motion under Rule 12(b)(6), if
       necessary, was deferred until after the Supreme Court
       issues its forthcoming decision in Student for Fair
       Admissions v President and Fellows of Harvard College.
            Argument heard on the motion under Rule 12(b)(1).
            Defendants noted that the Texas legislature recently
       passed an act intended to curtail diversity and inclusion
       initiatives at universities, including with respect to faculty
       hiring. The parties had filed advisories on this just prior to
       the hearing. See Dkts 28 & 29.
            The parties were ORDERED to confer and submit a joint
       status report by June 12, 2023, on the potential for
       resolution or deferral of this dispute in light of this
       development. They may state there whether they wish to
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       submit supplemental briefing on the impact of the new law
       on the jurisdictional issues in this case.
           The motion was otherwise TAKEN UNDER ADVISEMENT.
           SO ORDERED.


          Signed on May 31, 2023, at Houston, Texas.



                                __________________________
                                Hon. Charles Eskridge
                                United States District Judge




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